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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01129-NYW-SKC

  ERIC COOMER, PhD.,

         Plaintiff

  v.

  MICHAEL J. LINDELL, FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

         Defendants


                               EXHIBIT 6
       PLAINTIFF’S MOTION TO COMPEL DEPOSITION TESTIMONY FROM
       DEFENDANT MICHAEL J. LINDELL AND MOTION FOR SANCTIONS
                  PURSUANT TO F.R.C.P. 30 AND F.R.C.P. 37


                         Deposition Transcript of Michael J. Lindell
                        Designated Representative of My Pillow, Inc.
                                      Dated 03-08-23
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  1                    IN THE UNITED STATES DISTRICT COURT
  2                       FOR THE DISTRICT OF COLORADO
  3      --------------------------------------------------------
  4      Eric Coomer, Ph.D.,
  5                      Plaintiff,
  6           vs.                    Civil Action No. 1:22-cv-01129-WJM
  7      Michael J. Lindell, Frankspeech LLC,
  8      and My Pillow, Inc.,
  9                      Defendants.
 10      --------------------------------------------------------
 11
 12               VIDEOTAPED DEPOSITION OF MICHAEL J. LINDELL
 13              DESIGNATED REPRESENTATIVE OF MY PILLOW, INC.
 14                           VOLUME I (Pages 1-370)
 15
 16
 17      DATE:      March 8, 2023
 18      TIME:      9:30 a.m. CST
 19      PLACE:     PARKER DANIELS KIBORT, LLC
 20                 Colwell Building, Suite 888, 123 North 3rd St
 21                 Minneapolis, Minnesota 55401
 22
 23
 24      REPORTED BY: KELLEY E. ZILLES, RPR
 25      Job No.: 5761446

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       1                 APPEARANCES                                      1 EXHIBITS MARKED AND REFERRED TO:
       2                                                                  2
       3   On Behalf of Plaintiff:                                        3 Exhibit 60 Plaintiff's First Amended Notice of
       4     CHARLES J. CAIN, ESQ.                                        4            Intention to Take Oral and Videotaped
       5     Ccain@cstrial.com                                            5            Deposition of the Authorized
       6     BRADLEY A. KLOEWER, ESQ.                                     6            Representative(s) of My Pillow, Inc.... 8
       7     Bkloewer@cstrial.com                                         7
       8     Cain & Skarnulis PLLC                                        8 Exhibit 61                                                121
       9     P.O. Box 1064/101 N. F Street, Suite 207                     9
      10     Salida, Colorado 81201                                      10 Exhibit 62                                                        152
      11                                                                 11
      12   On Behalf of Defendant:                                       12 Exhibit 63 My Pillow Ads on Fox News Since 2017... 169
      13     RYAN MALONE, ESQ.                                           13
      14     Malone@parkerdk.com                                         14 Exhibit 64 My Pillow Flash Sale Ad................ 192
      15     Parker Daniels Kibort                                       15
      16     888 Colwell Building                                        16 Exhibit 65 Flash Drive............................ 201
      17     123 North Third Street                                      17
      18     Minneapolis, Minnesota 55401                                18 Exhibit 66                                                      242
      19                                                                 19
      20   ALSO PRESENT:                                                 20 Exhibit 67                                                268
      21                                                                 21
      22     Adam Wallin, Videographer                                   22 Exhibit 68
      23                                                                 23
      24   NOTE: Original deposition transcript will be provided         24                                                            273
      25   to Charles J. Cain, Esq. as taking party of deposition.       25
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      1                   INDEX                                           1   Exhibit 69
      2              (Volume 1 - Pages 1-370)                             2
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      5                                                                   5   Exhibit 70
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      7                                                                   7                                                     290
      8                                                                   8
      9                                                                   9   Exhibit 71
     10    EXAMINATION BY MR. CAIN............................. 6        10
     11    AFTERNOON SESSION................................... 226      11                                                                 297
     12                                                                  12
     13                                                                  13   Exhibit 72
     14                                                                  14
     15                                                                  15                                                                  309
     16    OBJECTIONS... 12, 15, 38, 39, 40, 42, 49, 60, 69, 84,         16
     17    92, 103, 105, 112, 170, 185, 225, 253, 259, 281, 282,         17   Exhibit 73                                                      336
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     20                                                                  20
     21                                                                  21   Exhibit 75
     22                                                                  22                                                           358
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     24                                                                  24   (Original exhibits attached to original transcript.
     25                                                                  25   Copies attached to transcript copies.)
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       1            VIDEO TECHNICIAN: We are going on the                  1      A. Go ahead.
       2   record at 9:36 a.m. on March 8th, 2023. This is the             2      Q. All right. So No. 1, ground rules. She's
       3   video recorded deposition of designated representative          3   trying to take down what you're saying, so it's
       4   of My Pillow, Incorporated, Michael J. Lindell, being           4   important that we don't talk over each other. Do you
       5   taken by counsel for the plaintiff in the matter of Eric        5   understand that?
       6   Coomer, Ph.D. versus Michael J. Lindell, Frankspeech,           6      A. Yes.
       7   LLC, and My Pillow, Incorporated, in the United States          7      Q. Okay. You understand you're here as a corporate
       8   District Court for the District of Colorado, Civil              8   rep for My Pillow?
       9   Action No: 1:22-cv-01129-WJM.                                   9      A. Yes.
      10        This deposition is being held in Minneapolis,             10      Q. Do you understand that we provided a notice of
      11   Minnesota. My name is Adam Wallin from the firm                11   deposition topics for you to look at in order to prepare
      12   Veritext and I am the videographer. The court reporter         12   to give testimony today?
      13   is Kelley Zilles from the firm Veritext.                       13      A. Yes.
      14        Will counsel please identify themselves for the           14      Q. Did you look at them?
      15   record.                                                        15      A. Yes.
      16            MR. CAIN: Charlie Cain, Brad Kloewer for              16      Q. I'm going to be handing you some exhibits
      17   the plaintiff.                                                 17   throughout the day. We've been marking them, so we're
      18            MR. MALONE: Ryan Malone for My Pillow,                18   already up to Exhibit 60.
      19   Incorporated.                                                  19            (Exhibit 60 marked for identification.)
      20            VIDEO TECHNICIAN: Will the court reporter             20      Q. Is that a copy of the deposition notice?
      21   please swear in the witness.                                   21      A. I need my glasses. Got it.
      22                MICHAEL J. LINDELL,                               22      Q. Is that a copy of the notice that you reviewed
      23   duly sworn, was examined and testified as follows:             23   in order to prepare to give testimony today?
      24                  EXAMINATION                                     24      A. Yes, it appears to be, yeah.
      25   BY MR. CAIN:                                                   25      Q. All right. What, if anything, did you do to
                                                                 Page 6                                                            Page 8

       1      Q. Tell us your full name, please.                           1   prepare yourself today?
       2      A. Michael James Lindell.                                    2      A. I read the case, I read this frivolous case.
       3      Q. Well, good morning, Mr. Lindell. My name is               3      Q. Okay. Is that it?
       4   Charlie Cain, we met for the first time --                      4      A. That's what I did, I read this frivolous case.
       5      A. Who's paying you?                                         5   I answered your question.
       6      Q. -- about four minutes ago.                                6      Q. If there is a question that you don't
       7      A. Okay. Go.                                                 7   understand --
       8      Q. Is that right?                                            8      A. No, I read the, I got it all, I got all these
       9      A. What's that?                                              9   down here, I read this, I read the frivolous case.
      10      Q. Is that right?                                           10      Q. All right. If there is a question that you
      11      A. Is what was the question?                                11   don't understand that I ask you during today.
      12      Q. We met for the first time --                             12      A. Mm-hmm.
      13      A. Yes, yes.                                                13      Q. Will you ask me to clarify that for you?
      14      Q. Okay. Here's what we're going to do, we're               14      A. Yes.
      15   going to start slow because the court reporter is trying       15      Q. Okay. Otherwise I'm going to assume that you
      16   to take down what you're saying, okay?                         16   understand what I'm asking you.
      17      A. Don't sit and scold me already, Mister. I'll             17      A. Right, got it.
      18   do, I'll do whatever I have to do. So you're not,              18      Q. You're still quick answering on me.
      19   you're just a lawyer, you're an ambulance chasing              19      A. Mm-hmm.
      20   lawyer, so don't start with me, I got all day, I'll take       20      Q. So let me finish my question, okay?
      21   as much time as you want, so let's go. You're not my           21      A. Yes.
      22   boss, you're just a lawyer, frivolous lawyer. So go.           22      Q. I tend to be a slow talker.
      23   Don't start scolding me.                                       23      A. Good for you.
      24      Q. Well, I'm asking questions, I'm not going to             24      Q. I'm from Texas originally.
      25   scold you.                                                     25      A. Good for you. I got all day, we'll make a week
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      12   Veritext and I am the videographer. The court reporter         12   to give testimony today?
      13   is Kelley Zilles from the firm Veritext.                       13      A. Yes.
      14        Will counsel please identify themselves for the           14      Q. Did you look at them?
      15   record.                                                        15      A. Yes.
      16            MR. CAIN: Charlie Cain, Brad Kloewer for              16      Q. I'm going to be handing you some exhibits
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      22                MICHAEL J. LINDELL,                               22      Q. Is that a copy of the notice that you reviewed
      23   duly sworn, was examined and testified as follows:             23   in order to prepare to give testimony today?
      24                  EXAMINATION                                     24      A. Yes, it appears to be, yeah.
      25   BY MR. CAIN:                                                   25      Q. All right. What, if anything, did you do to
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       3      Q. Well, good morning, Mr. Lindell. My name is               3      Q. Okay. Is that it?
       4   Charlie Cain, we met for the first time --                      4      A. That's what I did, I read this frivolous case.
       5      A. Who's paying you?                                         5   I answered your question.
       6      Q. -- about four minutes ago.                                6      Q. If there is a question that you don't
       7      A. Okay. Go.                                                 7   understand --
       8      Q. Is that right?                                            8      A. No, I read the, I got it all, I got all these
       9      A. What's that?                                              9   down here, I read this, I read the frivolous case.
      10      Q. Is that right?                                           10      Q. All right. If there is a question that you
      11      A. Is what was the question?                                11   don't understand that I ask you during today.
      12      Q. We met for the first time --                             12      A. Mm-hmm.
      13      A. Yes, yes.                                                13      Q. Will you ask me to clarify that for you?
      14      Q. Okay. Here's what we're going to do, we're               14      A. Yes.
      15   going to start slow because the court reporter is trying       15      Q. Okay. Otherwise I'm going to assume that you
      16   to take down what you're saying, okay?                         16   understand what I'm asking you.
      17      A. Don't sit and scold me already, Mister. I'll             17      A. Right, got it.
      18   do, I'll do whatever I have to do. So you're not,              18      Q. You're still quick answering on me.
      19   you're just a lawyer, you're an ambulance chasing              19      A. Mm-hmm.
      20   lawyer, so don't start with me, I got all day, I'll take       20      Q. So let me finish my question, okay?
      21   as much time as you want, so let's go. You're not my           21      A. Yes.
      22   boss, you're just a lawyer, frivolous lawyer. So go.           22      Q. I tend to be a slow talker.
      23   Don't start scolding me.                                       23      A. Good for you.
      24      Q. Well, I'm asking questions, I'm not going to             24      Q. I'm from Texas originally.
      25   scold you.                                                     25      A. Good for you. I got all day, we'll make a week
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      1   of this. Go ahead.                                          1      A. No, it was the note to tell my lawyers to get
      2       Q. Probably up to your lawyer, but I'm happy to         2   the emails from Chris Ruddy, which we've already
      3   stay as long as you'd like.                                 3   subpoenaed you guys but you don't seem to supply
      4       A. Just keep going.                                     4   anything. We've already subpoenaed the emails from
      5       Q. All right. Why did you call me an ambulance          5   Ruddy to you, you, Mr. Lawyer, that won't give us those
      6   chaser?                                                     6   because you don't seem to think you have to give
      7       A. What?                                                7   anything because you like your frivolous case. That's
      8       Q. Why did you call me an ambulance chaser?             8   what it is, it's a note for me to tell my lawyer. But
      9       A. Because you are. This is a frivolous case and        9   as long as you bring it up, this is when I went out, I
     10   if you're representing this guy and you've read this       10   didn't even know who Eric Coomer was until he did this
     11   case, you are a disgusting lawyer, period. There's my,     11   dirty deal with Newsmax and Ruddy and hurt my business.
     12   that's my, that's my right to say. You want to sue me      12            MR. CAIN: Objection, nonresponsive.
     13   too, Mr. Ambulance Chaser. Are you working on              13      A. Huh, say it?
     14   contingency or consignment with the guy, what are you --   14      Q. I said, objection, nonresponsive.
     15   I can't believe anybody would take this. This is           15      A. Well, you don't like that, huh?
     16   absolutely disgusting, it's a disgrace to our country,     16      Q. Let me explain a few things to you.
     17   it's a disgrace to you.                                    17      A. What?
     18       Q. Anything else?                                      18      Q. Let me explain a few more things to you.
     19       A. No, that's it. You asked me a question, I           19      A. Mm-hmm.
     20   answered it.                                               20      Q. Have you given a deposition before like this?
     21       Q. Okay. Now you, it looks to me based on what you     21      A. I've given a ton of depositions.
     22   told me off the record before we started that you put      22      Q. Okay. So you, you understand the process
     23   some notes on the back of that?                            23   somewhat?
     24       A. Yeah, I put the notes in here. It says, do you      24      A. Mm-hmm, sure do.
     25   want me to read them?                                      25      Q. Okay. When I ask you a question, you need to do
                                                           Page 10                                                         Page 12

      1      Q. Yes, I do, because I looked at them and I             1   your best to respond only to my question.
      2   couldn't, I couldn't --                                     2      A. Are you going to arrest me? I'll say whatever I
      3      A. It says Chris Ruddy emails, it says Eric Coomer       3   want and if we have extra, that's too bad. There's no
      4   emails with Newsmax and Ruddy. It says, and then it         4   rule that says I can't give a full answer. So, you
      5   says Coomer, from when I lost business with Eric Coomer     5   know, I'm telling you the rules. Have you ever been in
      6   I put a note here. That's the only time I ever, ever        6   a deposition where they can't stand who you are, have
      7   said anything before I was filed. I said one paragraph      7   you?
      8   and that was after Eric Coomer made a deal with Chris       8      Q. A lot more than you, sir.
      9   Ruddy. And that's when I lost business. And then I          9      A. Okay, good. Keep going. Don't tell me about my
     10   came out and made the comment that I said.                 10   depositions, you're not my boss, you're just some
     11         I was just, my notes to tell. That's the only        11   frivolous lawyer in here and you're bringing this
     12   thing that was ever said. Everything else that I said      12   frivolous case to me, and especially against a company
     13   came after I was served papers at the capitol in           13   that had nothing to do with anything. You're
     14   Colorado, it was just my personal notes here.              14   disgusting. Keep going.
     15         I made one comment in two years and that was         15      Q. I want you to understand another thing.
     16   after Eric Coomer hurt me by going to Newsmax and          16      A. What's that?
     17   whatever he said to them so I couldn't appear on Newsmax   17      Q. This case is pending in Federal Court.
     18   anymore and that's it. And I talked to Ruddy and it was    18      A. I don't care. What does that have to do with
     19   disgusting what he did, Eric Coomer did with Newsmax.      19   anything.
     20   So there, that's my, that's what the notes are.            20      Q. Do you understand that?
     21      Q. Okay. Well, let me follow up then. Who's Chris       21      A. Yes.
     22   Ruddy?                                                     22      Q. All right. There's a federal judge that's going
     23      A. He's the owner of Newsmax.                           23   to likely be reading and watching this deposition.
     24      Q. And you said a note, email with Chris Ruddy or       24      A. I don't care.
     25   something to that effect?                                  25      Q. Do you understand that?
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       1      A. I don't care. She should have dismissed this a          1   not being responsive or acting in good faith today, we
       2   long time ago. She hasn't ruled on that, there's a            2   may have to come back and do this some more, and I want
       3   problem, I got a problem with her too.                        3   you to understand that.
       4      Q. Okay. The judge has practice standards on               4      A. Oh, I got that.
       5   how --                                                        5      Q. All right. And if that's the case, I will be
       6      A. No, the judge did not dismiss this case. We put         6   asking for attorneys fees and costs.
       7   in to get it dismissed and she ruled, an unfair ruling        7      A. Oh, you will, huh. I'm already asking for them,
       8   saying well, go ahead and do discovery and waste all          8   I might just come after you guys for the most frivolous
       9   your time while I'm sitting here not doing nothing.           9   case ever when this is done. If there is a way to sue
      10   That's what that judge is doing. So don't tell me what       10   you, believe me I'm doing it.
      11   the judge is doing. And you just let me worry about the      11      Q. Okay.
      12   judge reading this, okay.                                    12      A. Okay. Just so you know that, beyond anything
      13      Q. I just want you to understand.                         13   you've ever seen, so be prepared.
      14      A. No, you just don't worry about me. You're not          14      Q. I'm committed to being polite and professional
      15   out for my benefit, okay, he's out for my benefit, not       15   today.
      16   you. So you can get, don't worry if I say something          16      A. Okay, go ahead. We're getting through that.
      17   that offends the judge, okay. You just let me worry          17   Now you know where I sit, let's get on with it.
      18   about that, you got that.                                    18      Q. Okay.
      19      Q. Yeah, I got it.                                        19      A. All right.
      20      A. Okay, good. Keep going.                                20      Q. Now we talked about the notice, you looked at
      21      Q. The reason I bring that up, sir, is if the judge       21   Exhibit 60.
      22   is not pleased with your conduct in this deposition,         22      A. Yep.
      23   there may be penalties.                                      23      Q. You're the only person here on behalf of My
      24      A. Oh, okay, good. You tell, you go ahead. And            24   Pillow --
      25   you think you're worrying about old Mike, you're really,     25      A. That's correct.
                                                              Page 14                                                         Page 16

      1    that's great. You're bringing a frivolous case, you're    1          Q. -- to testify. You need to let me finish my
      2    really up my back. Go ahead, keep going.                  2       question before you answer, okay?
      3          That judge, you put this in the record, that        3          A. Mm-hmm.
      4    judge is a big problem I got. If someone didn't have      4          Q. In my estimation you seem agitated this morning.
      5    the money or time to sit through this garbage when I put  5       Are you taking any medication or other drugs that would
      6    in to her a summary judgment last summer and she hasn't   6       affect your ability to testify?
      7    ruled on it, either say yeah or nay, it's disgusting.     7          A. No.
      8    It's disgusting to our country that she couldn't make a   8          Q. Now I prior to the deposition your counsel Mr.
      9    ruling. But go ahead and do deposition. If there was      9       Malone indicated that you'd have an assistant in here
     10    some guy that didn't have money you would put them under 10       today.
     11    just in this garbage, wasting my day, wasting my time.   11          A. Mm-hmm.
     12    But think if it was someone on the street, don't you     12          Q. And that's
     13    care about people. This is disgusting.                   13          A. Yes.
     14          This judge should have ruled a long time ago,      14               MR. CAIN: Hi
     15    either yeah or nay, frivolous or not, but she didn't.    15          Q. Her last name is what?
     16    She said go ahead and do discovery while I sit and       16          A.
     17    decide what I'm going to do, that's disgusting. I got    17          Q. Does she work for My Pillow?
     18    no problem with you on that, I got a problem with the    18          A. Yes. No, she doesn't, she works --
     19    judge not making a ruling, so there.                     19               THE WITNESS: My Pillow or Lindell
     20          Now go ahead. Now that the judge has that on       20       Management?
     21    record, now you don't have to worry about what me and    21                                   Lindell Management.
     22    the judge think about each other, all right.             22          A. Lindell Management.
     23             MR. CAIN: Objection, nonresponsive.             23          Q. Lindell Management.
     24        Q. Here's, here's another thing that I need you to   24          A. Yeah. She can go in the other room if you want.
     25    know, Mr. Lindell. If the court determines that you're   25       It was only because if I get an emergency call she has
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      1    that China was involved because the IP's came from China      1   Minnesota. I had physical threats. By physical I mean
      2    and this is in the cyber world.                               2   threats, I was the No. 1 threat, here's the evidence and
      3       Q. Right. We're going to get into that topic,              3   they, they the bad guys, whatever, it was pretty bad
      4    those topics.                                                 4   then, you know.
      5       A. Okay.                                                   5      Q. But not to get too legalistic, to the extent
      6       Q. Probably a lot more in your individual                  6   that you had the authority as the CEO of the company to
      7    deposition. I'm really trying to focus on My Pillow --        7   make statements publicly on behalf of My Pillow, it was
      8       A. Okay.                                                   8   you and you alone --
      9       Q. -- here. But I appreciate that, I'm not                 9      A. I didn't make any statements --
     10    quibbling with you, I just --                                10      Q. No, no, no, let me finish.
     11       A. The short answer in January, just so you know,         11      A. -- on behalf of My Pillow.
     12    in January nobody talked to me, I didn't talk to the two     12      Q. Let me finish my question. To the extent that
     13    board members, I found this out way after the fact, you      13   you made statements.
     14    know. It could have been March when, hey, when I found       14      A. Mm-hmm.
     15    out did you know back then                   came back and   15      Q. On behalf of My Pillow publicly.
     16    said it, did you know        probably when we were having    16      A. Mm-hmm.
     17    our next board meeting we go what do you mean                17      Q. It was you and you alone that had the authority
     18    resigned, this was three months later.                       18   to do so, right?
     19       Q. Yeah, that's fine, that's fine.                        19            MR. MALONE: Object to the form.
     20       A. But you're putting it in there like I got warned       20      Q. In other words, no one in the company could say,
     21    or something, that did not happen.                           21   you know what, Mr. Lindell, you can't say that, you
     22       Q. No, no, you've clarified it.                           22   don't have the authority to say that --
     23       A. Okay.                                                  23      A. Well, they could say it but, they could say
     24       Q. So the subsequent board meetings after your            24   anything they wanted.
     25    discovery and you went public, all right, in any of the      25      Q. But it wouldn't matter, it wouldn't matter,
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       1   subsequent board meetings from then till now has the          1   right?
       2   board ever instructed you to, you got to stop talking         2      A. They can't fire me, no. They could, I could,
       3   about this stuff?                                             3   the whole company could be going down and there is
       4      A. No, not that I know of.                                 4   nothing they could do if I'm still out as my own
       5      Q. It's hurting the company?                               5   individual capacity, that's correct.
       6      A. No. They said it's hurting the company                  6      Q. And you had the discretion to do whatever you
       7   probably, but I don't know we said it in the board            7   wanted to in terms of exercising your authority as CEO?
       8   minutes.                                                      8      A. Correct.
       9      Q. Does the board have the authority to fire you?          9      Q. Yes?
      10      A. No.                                                    10      A. Yeah.
      11      Q. Now you own the company, at least the majority         11      Q. Okay. In other words, if Joe VP box guy says,
      12   of the shares, right?                                        12   you know what, Mr. Lindell, you shouldn't be out there
      13      A. The majority, right. They do not have the              13   talking about this and also selling this product at the
      14   authority to fire me.                                        14   same time, maybe people could get confused.
      15      Q. So as far as you know, your understanding of the       15      A. What do you mean selling this product at the
      16   bylaws of the company, any shareholder agreements that       16   same time? I object to that dumb answer. What are you
      17   may be there, no one within that company has the             17   talking about. I didn't go out there, melt down our
      18   authority to fire you?                                       18   machines and buy a pillow, I mean, what is wrong with
      19      A. That's correct. And I'm sure, whatever they            19   you.
      20   said or didn't say, which more things they didn't say,       20      Q. So it was a question --
      21   they probably kept it to themselves.                         21      A. Nothing changed with My Pillow other than we
      22      Q. Right.                                                 22   were destroyed taking pieces off, that stayed the same.
      23      A. Because they know. When I got back we probably         23   The different variables, I'm out here in my own
      24   didn't have a board meeting for five months, I would say     24   capacity, which trying to get people to see this
      25   maybe even longer because I was, I had to stay out of        25   evidence and sounding the alarm and getting the
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       1      A. It's the same business model.                          1   Dominion or Eric Coomer or any of these things --
       2      Q. I don't really, you probably gathered this, I          2      A. I've never, I've never --
       3   don't watch much TV, I don't watch --                        3      Q. Let me finish my question.
       4      A. I'm everywhere, I'm on CNN, MSNBC, Fox News,           4      A. Yeah.
       5   Newsmax.                                                     5      Q. Are not the positions of My Pillow and that they
       6      Q. What, what do you call publicly?                       6   are not --
       7      A. Huh?                                                   7      A. 100 percent I've said that.
       8      Q. What, what do you call --                              8      Q. Okay. Where?
       9      A. Here is what I can't, here's what I can't do           9      A. 100 percent. All the time. I say, you know
      10   now, let me tell you this.                                  10   what, this has nothing to do with My Pillow. I have
      11      Q. I didn't ask you what you can't do.                   11   said that so many times you can't believe it. The
      12      A. Okay.                                                 12   difference is now I can't go on stations and talk about
      13      Q. I'm asking you what are you, how are you              13   My Pillow because of people like Coomer that did this to
      14   referred to publicly, the My Pillow guy?                    14   me, it's the other way.
      15      A. Yeah.                                                 15         Because people associate me over here with the
      16      Q. Right?                                                16   election, fixing our election, now I can't go and be the
      17      A. That, people say that, yeah.                          17   My Pillow guy. You're right, I am suppressed from doing
      18      Q. Okay.                                                 18   that. It's the opposite of what you think. Because of
      19      A. Now, now when I'm out there now, people are out       19   over here they recognize me as trying to fix our
      20   there, they're going, you know, it's almost probably        20   election, I can no longer on go on all these, it's cost
      21   more so over here to help fix our country, help save our    21   me millions, I can't go on Salem Media, and that was our
      22   election. I don't know how people know me.                  22   No. 1 outlet, Fox News, Newsmax, none of them, no media.
      23      Q. Do you understand how the public might be             23   I can't go on any station at all and talk about My
      24   confused about you talking about election fraud --          24   Pillow anymore. That's why it's cost us so much.
      25      A. Let me tell you something --                          25         I could go on like back in the day go on Imus,
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       1      Q. Hold on, let me --                                     1   go on these stations and talk and say, hey, what are we
       2      A. No, let me tell you something. This is an              2   doing with My Pillow, like our new My Pillow 2.0. I
       3   anomaly in history. I was on TV 3 million times --           3   can't do that now. When I did that we would let people
       4      Q. I didn't ask you that.                                 4   who know about our company. Now because of this
       5      A. I'm going to explain your question. I was on TV        5   election, trying to save our country, it's crap like
       6   3 million times up to 2016, so anything I do out there,      6   this, now I can't go on there and do it because of
       7   they're going to associate me with My Pillow.                7   people like Eric Coomer, that's a fact, that's a fact.
       8      Q. Of course.                                             8         All I was trying to do was bring to light that
       9      A. Anything I do, that's the way because I'm so           9   these machine companies and that China intruded in our
      10   branded. It's like you're branded as a frivolous            10   election, that's reality. So you are exactly right.
      11   lawyer, anything you do, well, you'll be branded as that    11   They don't know me as the My Pillow guy over there,
      12   because that's all I know about you right now. So go.       12   these stations, they know me as trying to fix our
      13   I mean, you know, I don't know what you're saying.          13   election so I can't even go on and advertise My Pillow.
      14   You're trying to associate that anything I say becomes      14   That's why we've been hurt, that's why last year we lost
      15   part of My Pillow, that's not true.                         15   $6 million that we had to go borrow money for my
      16      Q. Well, that's, but you know that's the perception      16   employees so I can keep them all employed. They have
      17   publicly, don't you?                                        17   families and stuff.
      18      A. No, I don't know that's the perception publicly.      18         So don't try and flip it the other way because
      19      Q. Of course. If you're talking about election           19   it's only one way. We keep losing, losing, losing
      20   fraud issues and you're the My Pillow guy, you're saying    20   because now I'm branded over here trying to fix our
      21   that the public can separate those two out?                 21   election because media attacks me every day and people
      22      A. I would hope they could, why wouldn't they.           22   like this guy, Eric Coomer, that cost me almost
      23      Q. Have you ever, have you ever issued a press           23   everything when he went and made a deal with Chris Ruddy
      24   release or a statement to the public that says any, any     24   behind my back and said don't ever have Mike Lindell
      25   discussions that I have publicly about election fraud or    25   come on anymore.
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       1         I made one comment, there it is circled, that's       1   one struck a chord.
       2   the only one I ever made about Eric Coomer, the only        2       Q. No, I just want answers to my questions.
       3   thing I ever said, until after he sued me, then there's     3       A. Okay, what is it?
       4   plenty in here. That's the only statement right there       4       Q. So let's just talk about press releases.
       5   that I ever said about this guy I didn't even know,         5       A. About what?
       6   period.                                                     6       Q. Press releases, public statements by My Pillow.
       7      Q. What page are you looking at?                         7       A. Okay.
       8      A. 36. I looked at this last night, it's                 8       Q. Okay. Here's the question, has My Pillow issued
       9   disgusting. That's the only thing I ever said and that      9   any press releases or public statements in writing
      10   was the day after he made the dirty deal with Chris        10   saying that you do not speak on behalf of the company as
      11   Ruddy. And I called Chris Ruddy up, I go, what are you     11   it relates to election fraud issues?
      12   doing. I go, what do you mean I can't come on and talk     12       A. I believe so, but I'd have to go back because we
      13   about My Pillow anymore. Well, he's done it with this      13   may have a PR person back then maybe. I think she did,
      14   Eric Coomer. That's when I made that statement. I          14   but I'd have to check on that. I believe so.
      15   never had made one statement, didn't even know who he      15       Q. Okay. So you think as you sit here, I don't
      16   was before that.                                           16   want you to guess.
      17         All that, all this crap about Joe Oltmann who I      17       A. I don't know, I don't know, but I would really,
      18   didn't even know then and all this stuff about,            18   because I had a, I think we had a PR person back then,
      19   everything after that from this on is after he sued me     19   this is two years ago now or three years ago.
      20   in Colorado, every statement I made. And I'll continue     20       Q. Who, who is that person, are you not going to
      21   to make statements about both you and him. This is why     21   tell me?
      22   this judge should have ruled this as frivolous instead     22       A. I don't know, and I'm not giving you her name so
      23   of last summer sitting on it for nine months and making    23   you can attack her.
      24   me sit here and waste two days of my life because I        24       Q. Do you have any evidence that I've attacked
      25   could be helping my employees, trying to keep them         25   anybody within your company? Don't show me the, don't
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       1   employed while you people attack. There's my statement.     1   show me what you're going to show me.
       2             THE WITNESS: Did you get all that?                2      A. Right there, Page 36, Page 36, where you, where
       3             MR. CAIN: Objection, nonresponsive.               3   I called you lawyers just as bad as him, I called you
       4       A. No, but it's disgusting when you sit here --         4   guys criminals.
       5             MR. MALONE: Slow down.                            5      Q. You did.
       6       A. I'm branded as now election, not My Pillow guy,      6      A. Because what you did to my company back then,
       7   it's the opposite.                                          7   that's when I brought up Eric Coomer. I had never, I
       8             MR. MALONE: You just got to slow it down.         8   had never said his name ever in history until he drew
       9             THE WITNESS: I know, but it just pisses me        9   first. He went to, he went to Chris Ruddy and made a
      10   off.                                                       10   dirty deal behind my back and then Chris told me I could
      11             MR. MALONE: I understand, they understand.       11   never come on Newsmax again and talk about My Pillow.
      12             THE WITNESS: So disgusting.                      12      Q. Did Mr. Ruddy, since you've raised it now maybe
      13   BY MR. CAIN:                                               13   half a dozen times, did Mr. Ruddy tell you the terms of
      14       Q. You don't remember my question, do you?             14   the settlement between Dr. Coomer and Newsmax?
      15       A. Yeah, the question is do people know you as the     15             MR. MALONE: Object to form.
      16   My Pillow guy, blah, blah, blah. I just gave my answer.    16      A. No. What he said, he said I couldn't come on
      17   No, they know me over here as this guy that's trying to    17   Newsmax anymore even if it was to talk about My Pillow.
      18   save our country. But because of Lawfare and start         18      Q. And he, did he say --
      19   dirty things that Eric Coomer did on that one day, which   19      A. This was public, it went out publicly, I seen it
      20   that's when I called him out, I can't go on my stand, I    20   publicly.
      21   can't, my company has been hurt so bad because of people   21      Q. No, no, no.
      22   like this Eric Coomer, so bad, tens of millions of         22      A. No, this is what I'm telling you, let me tell
      23   dollars, hundreds of millions of dollars.                  23   you the answer. I seen it publicly out there in the
      24       Q. You don't remember my question, do you?             24   public, this guy named Eric Coomer. I go who the heck
      25       A. What's your question, give me a new one. That       25   is that, then I see he's with Dominion and he made a
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       1   evidence and every day I'm losing a box store, every      1               him up and go Asawin, the Daily Beast is very left, I go
       2   single day.                                               2               you better get back over there and tell Dominion chop,
       3      Q. Right, no, no, no. I'm actually focused more on     3               chop or you're going to be known as fake news, that was
       4   the late summer --                                        4               it.
       5      A. There were other, there were other stations that    5                     So when they first sued me finally, they sued me
       6   threatened to cancel me if I didn't stop talking, there   6               and it said, and they sued My Pillow, it said something
       7   were 12 little stations. And I told them go ahead and     7               about promo codes. So I went on Steve Bannon, the first
       8   cancel me, if you do you're not coming back, I'm not      8               time I had ever met him in my life. And I go on there
       9   getting cancelled. I have to, we have to get this         9               and he goes, Mike, Dominion sued My Pillow and not just
      10   evidence out there.                                      10               you. And I said yeah, they're disgusting. And I said,
      11         So yes, I did make those statements to them.       11               he goes, well, you said they're using promo codes, and I
      12   They decided to stay on with us, it was 12 of them. And  12               said, yeah, use promo code Dominion to save up to
      13   they, I got called by our media buyer and she said we    13               66 percent. And then he dropped his microphone, it was
      14   have 12 TV stations I think are going to cancel. I said  14               disgusting. That's where it came from.
      15   tell them if they do they're never coming back because   15                   Q. Who dropped his microphone?
      16   I'm not going to, they're not going to bully me into     16                   A. Steve, he just, he couldn't believe I said that.
      17   changing my mind and not showing this evidence to the    17               I said use promo code Dominion. Just like when the FBI
      18   world.                                                   18               took my phone, I said use promo code FBI.
      19      Q. You mentioned Chris Ruddy earlier and Newsmax. 19                       Q. I thought it was Hardee's.
      20   Were there, sort of the opposite of what we were talking 20                   A. No. Well, Hardee's was one too, they put their
      21   about with Fox, were there certain media outlets that    21               thing out there, you know.
      22   were actually helping you promote the Cyber Symposium? 22                     Q. All right. Let's, let's focus back --
      23      A. No, no. They all, all of them were just the        23                   A. In other words, you know, take your lawsuit of
      24   generic ads.                                             24               promo codes and shove it, that was my, that was my
      25      Q. Okay.                                              25               statement to them.
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       1    A. And, and incidentally now that you ask that,                      1       Q. Yeah, using the company My Pillow to, to make
       2 everyone was the same, whether it was ABC, Newsmax or                   2   that statement, right?
       3 whatever. But on the first day of the Cyber Symposium                   3       A. After the lawsuit, Mr. Twister, after I was
       4 Dominion decided to sue OAN and Newsmax, not the rest of                4   sued. Everything in here in your little lawsuit, other
       5 ABC, NBC, CBS, NBC. You wonder why I don't like the                     5   than that one little paragraph, everything I said --
       6 name Dominion. They hurt us there too. They attacked                    6       Q. We don't, we don't --
       7 those two and then OAN, what ends up manifesting from                   7       A. -- after he sued me.
       8 that, they take, AT&T takes them off the news, or Direct                8       Q. We don't need --
       9 TV, we lost that for advertising too because their                      9       A. After Coomer served his papers.
      10 audience went down to nothing. So I got Eric Coomer                    10       Q. We don't need to replow that, okay, I've heard
      11 destroying Newsmax for me and Dominion and AT&T and them               11   you say that.
      12 guys destroying OAN.                                                   12       A. Well, then I'm just telling you. So that's what
      13    Q. I noticed, by the way, there was a Dominion                      13   he, you know, using My Pillow, after.
      14 promo code. Why do you have a Dominion promo code?                     14       Q. Let's --
      15    A. Because I, you know why, because when I went on                  15       A. And it's a, and it's a joke, you know, shoving
      16 TV and they're going, oh, Mike, Dominion sued you, which               16   it back in you guys' face. Oh, you think My Pillow
      17 I asked them to sue me because I wanted the discovery,                 17   benefitted from this, give me a break. Talk to them
      18 that's how it was. I asked them to sue me, did you know                18   employees who are trying to support their families. You
      19 that, are you familiar with that.                                      19   guys are disgusting. What else you got.
      20       I called up, I called up the Daily Beast and I                   20          It's kind of a sad day for you, isn't it, to see
      21 said why would you tell Dominion to sue me, I got the                  21   how bad My Pillow is sitting and you're trying to make
      22 evidence. And so he walks over and he tells them that,                 22   it look like this was some grand thing to make money.
      23 his name is Asawin. And he goes yep, they're going to                  23   It's just sad, it really is, it's sad. This is probably
      24 sue you. And I said, okay, do an article about it, he                  24   the most frivolous lawsuit in the history of the United
      25 did. They didn't sue me for three days. I had to call                  25   States, and I mean that. It's shameful that judge did
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       1   to me I consider it criminal. I don't care what he's                1      A. She had, I have many, many people, their past,
       2   done in his past nor do I know what he's done in his                2   but if they've changed, if they've changed or gotten
       3   past. Do you get that?                                              3   help, absolutely I hire him. This is current, this is
       4      Q. I do.                                                         4   real.
       5      A. Well, then don't sit here and tell me. He did                 5      Q. You struggled with addiction?
       6   this directly to me.                                                6      A. Oh, yeah, I was a crack addict, yeah.
       7      Q. Right.                                                        7      Q. And Eric Coomer struggled with addiction.
       8      A. And it's criminal what he's done to me.                       8      A. I don't know, I don't know. I feel bad for him,
       9      Q. And, and --                                                   9   but I hope he got changed, hopefully he found the Lord
      10      A. He's a criminal, that's what he is, and that's               10   Jesus Christ, you know, so I can pray for him. I have
      11   my opinion. He did this to me. I don't care if he,                 11   prayed for him, believe it or not, I have prayed for
      12   what he's done in his past, I could care less. I heard             12   him, you know. I prayed for him, I go why did this
      13   once he, that he's got some DWI's, I don't even know, I            13   person do this to somebody and I prayed for his
      14   don't know, I don't know, I don't know his past, I don't           14   salvation, for his soul, and for him to get help, you
      15   know what he's done, I don't know anything about the               15   know, as I have lawyers that even back up frivolous
      16   guy. But I do know what he did to me. That's why we're             16   cases like this. And I got to meet the lawyer behind
      17   here, what he did to me. And I will, just like these               17   the curtain. Go ahead.
      18   other people that you hear me bad-mouth, I don't                   18      Q. I'll take whatever I can get. Okay. Let's,
      19   bad-mouth anybody directly unless they, I have the                 19   let's de-escalate and just talk about some numbers,
      20   evidence of what they did to me or what, or that, that             20   that's a little easier I think in a sense. Go back to
      21   I've done my due diligence.                                        21   this exhibit, if you would, please, 62. You've already
      22         Eric Coomer did this directly to me. And I made              22   been quite clear at least in your mind that your
      23   one statement about him. Didn't say nothing for a whole            23   activities relating to the election, 2020 election have
      24   year, and then you guys come up and serve me papers in             24   hurt My Pillow's business?
      25   Colorado. I'll bet there was statements after that,                25      A. Absolutely.
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       1 wasn't there. Then everybody knew that what he did to                 1      Q. In a, in a sort of a shorter area or window, did
       2 My Pillow and Mike Lindell. How dare he come and sue My               2   My Pillow at least around the Cyber Symposium experience
       3 Pillow, he's a scumbag for doing that.                                3   an uptick in sales?
       4          THE WITNESS: Put that in there, scumbag,                     4      A. Huh-un, no.
       5 S-C-U-M, bag.                                                         5      Q. Okay.
       6    A. That's what he is for what he did to me.                        6      A. And it's hard to tell because, because of drop
       7    Q. Okay. That's not my question. There were                        7   in the Fox ads, so it's very hard. But we lost, it's a
       8 questions to him about his past.                                      8   net net definitely loss.
       9    A. Not from me.                                                    9      Q. Well, if you take Fox out of the scenario,
      10    Q. And what I'm hearing you say --                                10   because you made the decision to, to cut Fox out, all
      11    A. Not from me.                                                   11   right. So put Fox --
      12    Q. From your lawyer.                                              12      A. It's all one thing.
      13    A. Well, I don't know what my lawyer did, that's                  13      Q. Hold on, hold on. Put Fox in a box on the side.
      14 between my lawyer and him. You guys, all lawyers do the              14      A. Okay.
      15 same stuff, lawyer stuff.                                            15      Q. And just, just talking about the other revenue
      16          MR. MALONE: Just let him ask the question,                  16   streams. During the symposium, isn't it true that you
      17 see what he has to say.                                              17   had an uptick in revenue from the other sources
      18    Q. Okay. From your perspective as CEO of My                       18   outside --
      19 Pillow, Eric Coomer's past, whether he had run-ins with              19      A. I, I don't know, I would have to, I have no
      20 the law or, or criminal issues, is of no moment and is               20   idea.
      21 irrelevant?                                                          21      Q. Is there something like, I've looked at, there's
      22    A. Is irrelevant, 100 percent irrelevant, as far as               22   week -- here's the question, and correct me if I'm
      23 I'm concerned, that's his business.                                  23   wrong. You both do day, daily reporting where you look
      24    Q. Because you believe, you said, you know,                       24   at --
      25 has --                                                               25      A. And weekly reporting, yeah.
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       1   here like your Diamond & Silk, War Room, Alex Jones,           1   are you --
       2   Bartz, it's everybody. This is not My Pillow, they             2       Q. The ones that are looking at this on the video.
       3   don't get those sales. Anything that came close to             3       A. I'm trying to tell you that you're trying to say
       4   Frankspeech, My Pillow doesn't get them. Do you get            4   we made money there. We lost $4 million. And that, I
       5   that?                                                          5   don't know when the promo code audit was set up. That's
       6      Q. No, I guess I don't.                                     6   a Frankspeech is a platform just like the man on the
       7      A. Talk to my employees. They wouldn't get, they            7   moon, Fox News, everyone I've been doing for 15 years.
       8   don't get that money. It's another platform like, like         8         Now did they buy more for promo code audit by me
       9   War Room, like Fox News. They have to pay. What                9   saying that, yeah, I said it as a thing, yeah, they did.
      10   Frankspeech ends up with with that, My Pillow will get a      10   It looks like they bought more than the day before. Is
      11   portion of that for their sales.                              11   that what you want me to say. Yes, by me saying that on
      12      Q. Wait, wait, wait. My Pillow --                          12   that stage, I'm telling you I didn't do any ads, it was
      13      A. They don't get anything from Frankspeech.               13   not to run ads at all, and I ran ad free. Did I say
      14   Frankspeech, that's their sales. Do you get that. This        14   that because of proving a point, you proved my point.
      15   wasn't a My Pillow, it had nothing to do with My Pillow.      15         Rotten horrible lawyers like you and the media
      16      Q. It's the product that was being sold.                   16   saying, oh, Mike Lindell is trying to save this country
      17      A. Right, by using a promo code, right.                    17   just to make money. I have lost everything I've had so
      18      Q. Right. When a pillow is sold, My Pillow gets a          18   far, you got it. So don't sit here and take your,
      19   portion of the sale?                                          19   because I'm not going to take this garbage you're
      20      A. From everywhere I have ads in the world. What           20   spewing out. This is horrific what you're doing, I've
      21   I'm saying is when I do an email blast --                     21   said it from the start of this thing, it's disgusting,
      22      Q. Wait. You said ten times that My Pillow doesn't         22   I've lost millions of dollars.
      23   get the money.                                                23         You'd like to be in my shoes, you just can't put
      24      A. No, you need to understand, that's sold on the          24   it through your head. Why would anybody hold to his
      25   Frankspeech platform.                                         25   moral compass and say here, I have evidence to save our
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       1      Q. I don't care what the platform is, the money is          1   country so you have a job. And I'm willing to sacrifice
       2   going in part to the platform --                               2   every single thing I have, including other people's
       3      A. That's right.                                            3   jobs. If it takes that, I can't help it, I'll try and
       4      Q. -- and in part to My Pillow?                             4   do everything I can to help save them. But you know
       5      A. Just like any other, that's correct.                     5   what, if it comes to that, I will lose everything I have
       6      Q. You're in the pillow business to sell pillows,           6   because that's how important it is to fix our elections.
       7   right?                                                         7   That's it.
       8      A. Mm-hmm.                                                  8         So you can go ahead and say that to the jury and
       9      Q. Yes?                                                     9   make it look like I was trying to make money. They
      10      A. Sure.                                                   10   heard that statement. I made a joke about it. I can't
      11      Q. And that's what we're looking at, the                   11   help that that many people bought, but I still lost
      12                                                                 12   $4 million that weekend. That's the bottom line. So
      13     A. But that was sold on the Frankspeech platform.           13   you can sit there and go, look at him. If there was an
      14     Q. I don't care if it was sold on the moon. The             14   ad coming up every two minutes, you could maybe make
      15   money is going to My Pillow in part?                          15   that argument, but it didn't. There wasn't even
      16     A. Not all of it, but some of it, yes.                      16   anything on the strips, nothing. So it's disgusting
      17     Q. Okay. And it's going to whomever --                      17   that you're even insinuating that. That's all I'm
      18     A. Mm-hmm.                                                  18   saying. Go ahead.
      19     Q. -- is advertising that product?                          19      Q. You can't bang on the table because you're --
      20     A. Mm-hmm.                                                  20      A. That's what I did, I'm sorry, I apologize. Did
      21     Q. Through the promo code, right?                           21   it break anything? I'm just getting, it's disgusting.
      22     A. Okay.                                                    22   I can't believe that you're a lawyer, that you would do
      23     Q. Are you trying to tell the jury that you're not          23   something like that. Don't you have a moral compass. I
      24   making money --                                               24   mean, this is bizarre, this whole thing is bizarre.
      25     A. What jury, what jury are you talking about, why          25   That I did it to make money with promo codes, really.
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       1   mind, sarcastic. I'm tired of people thinking that I     1       Q. Is there a --
       2   did this to make money, you know, that was the whole     2       A. To get them to quit, to get them to quit using
       3   thing.                                                   3    that generic code.
       4      Q. I didn't ask you about money. You know, we got     4       Q. Is there a mechanism if let's say          s in
       5   to be on point here.                                     5    this room with us and I want to know,            how much in
       6      A. Well, then, well, you're asking me. I just told    6    revenue was done associated with all of the audit codes,
       7   you, it says right here, audit 50 towels, audit 33       7    is there, is there a way internally to produce that kind
       8   sheets.                                                  8    of financial reporting?
       9      Q. All right. You answered part of my question.       9       A. From back then, maybe, I would say yes.
      10   There is audit --                                       10       Q. Okay.
      11      A. It says right there, I'm reading it.              11       A. But then you asked me why, why the number is
      12      Q. Let me finish, please. There's audit 67, audit    12    behind it.
      13   68, audit 89, audit 98. Which, which vendors were using 13       Q. You answered my question.
      14   those audit codes?                                      14       A. It's very simple. If people kept using that
      15      A. I'll have to check on that, I'll have to check    15    code audit. It's kind of like Dominion when I threw
      16   on that. But here it says towels and sheets. I don't    16    that out there.
      17   know which vendor. So probably, here's my guess, when I 17       Q. Right.
      18   said that at the symposium, other vendors out there     18       A. I had to, I had to actually, first I just
      19   probably went, hey, can I have an audit code. I don't   19    disconnect it because people used it and I couldn't
      20   know, I'd have to check on that, you know, that could   20    track my media.
      21   be. Or it could be we had to divide them up with the    21       Q. No, I know the tracking part.
      22   audit code because it was already established. And      22       A. Well, that's the biggest part of it, you have to
      23   that's probably it, so people are using an audit code.  23    be able to track your media.
      24   I had to divide it up to towels and sheets, you know    24       Q. We may be asking these, or talking about this
      25   what I mean. We had to put numbers behind it. That's    25    for different reasons, so.
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       1   probably, that would make more sense. We couldn't use     1      A. Mm-hmm, right.
       2   just one code audit or you're not tracking your media.    2      Q. So if, if, for example, Frank33, if I wanted to
       3       Q. No, you've already talked about --                 3   know how many sales --
       4       A. Well, that's what it is, that's exactly what it    4      A. What?
       5   is. It meant nothing as far as auditing somewhere. You    5      Q. Frank33.
       6   had to divide it up between sheets and stuff because I    6      A. Frank33, right.
       7   said it at the symposium, so now you have all this,       7      Q. If I want to know how many sales are associated
       8   everyone is using promo code audit, I couldn't track a    8   with that promo code, can you go back or someone --
       9   sheet commercial from a towel commercial. Do you follow 9        A. Well, I would assume, I don't think we changed
      10   me?                                                      10   our, I don't think we changed our platform.
      11       Q. I do follow you.                                  11      Q. All right. Have you ever asked someone like
      12       A. That's what we did. So we probably shut off the   12          or your controller to give you a report like that
      13   promo code audit is what, that's my guess. It's like,    13   that just says, hey, I want to see War Room, I want to
      14   I'll give you an example. Back what we did originally,   14   see everything --
      15   what they did way back in the beginning we used promo    15      A. Of course I have.
      16   code My Pillow on all the media in 2012, all, it was     16      Q. Okay.
      17   just a promo code, My Pillow. And then what happened     17      A. Or I can do it myself, you know, I can do it
      18   was we couldn't track it all because it was all going to 18   myself.
      19   the same code. So then we had My Pillow 22, My Pillow 19         Q. Okay.
      20   23, very similar.                                        20      A. I showed you on my phone. What's wrong with
      21          So when I said that at the symposium, what        21   you. I just showed you all the promo codes.
      22   people had stuck in their head, so when they're seeing   22      Q. Let's, let's not get combative about it.
      23   commercials on, on Frankspeech, this is probably from    23      A. Well, no, I'm just telling you. You're asking
      24   Frankspeech, we had to divide them out into numbers,     24   me something, I just showed you how I can do it.
      25   that's all.                                              25      Q. No, you, you didn't produce a report. Oh, you
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       1           MR. KLOEWER: I'm looking them up right               1   Montgomery, or did I know those guys, no. I had been on
       2   now.                                                         2   Brannon Howse's show one time three months prior or
       3            THE WITNESS:                             nice       3   something.
       4   guys.                                                        4      Q. Did you pay Mr. Howse for access to the --
       5   BY MR. CAIN:                                                 5      A. No, 100 percent, no. I never paid him a dime.
       6      Q. All right.                                             6      Q. You have not paid any amount of money or My
       7      A. Charge             hour. Do you guys make that         7   Pillow has not paid any amount of money for this data --
       8   much an hour?                                                8      A. No.
       9      Q. No comment.                                            9      Q. -- that you say is under gag order?
      10      A. Or are you making it on this, on frivolous            10      A. No, absolutely not, 100 percent no.
      11   cases, consignment things?                                  11      Q. Has Mary Fanning ever worked for My Pillow?
      12            MR. MALONE: They won't answer the                  12      A. No.
      13   questions, Mike.                                            13      Q. Have you ever met her?
      14            THE WITNESS: Well, he's asking me stuff            14      A. No.
      15   that has been completely irrelevant. I could ask him        15      Q. Do you know if she's a real person?
      16   some questions, that's crazy.                               16      A. Yeah, I've talked to her. She, she helped, she
      17            MR. MALONE: We'll do that later.                   17   helped in two movies, she's definitely a voice.
      18      A. Who owns your airplane, who owns it, you know,        18      Q. She's definitely a voice.
      19   what does Lindell, what does it have to do with anything    19      A. Yeah.
      20   you're talking about. Josh Merritt, I gave a ride to        20      Q. But you've never met her in person?
      21   the guy on my plane, the guy, I didn't know he was a bad    21      A. I've never met her in person. I've never met a
      22   guy, but he's there, I don't know where he came from, I     22   lot of these people you're talking about in person. I
      23   didn't hire the guy. He sits up on the thing and says       23   met, I think I've probably met Joe Oltmann like four
      24   this evidence is all good, and then two days later he       24   times.
      25   tries sabotaging the symposium. And then, and then he       25      Q. Dennis Montgomery, does he --
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       1   about two days or four days after the symposium we get a     1      A. I met Dennis many times now because now he does
       2   tape that was taped two days before the symposium how        2   work for me.
       3   he's going to take, win the $5 million and sabotage the      3      Q. Okay.
       4   thing. Just a disgusting person.                             4      A. Mike Lindell.
       5      Q. This data we've been talking about, is it the          5      Q. He does not work for My Pillow?
       6   same data that, that you procured from Patrick Byrne?        6      A. No, absolutely not, he does not work for My
       7      A. I didn't purchase anything from Patrick Byrne, I       7   Pillow, never has.
       8   never dealt with Patrick Byrne on anything, purchasing       8      Q. Just you personally?
       9   any data. What are you talking about and where did this      9      A. Mm-hmm.
      10   come from. Now you're starting to be stupid, now you're     10      Q. Is that a yes?
      11   really asking some questions. Where did you even get        11      A. Yes.
      12   that that I purchased any data from Patrick Byrne. This     12      Q. It's just ambiguous if you say mm-hmm.
      13   is the most out left field thing I've ever heard. What      13      A. Yes, yes, yes.
      14   do you want me to say, oh, no, I didn't purchase it. I      14      Q. It's not clear what that means. Where is, if I
      15   never purchased anything or got anything from Patrick       15   needed to locate Mr. Montgomery, where would, where
      16   Byrne ever.                                                 16   would I find him, if you know?
      17      Q. Thank you.                                            17      A. I think that's his -- once again, I don't want
      18      A. My evidence came from Brannon Howse on                18   you attacking him.
      19   January 9th, you got that.                                  19      Q. Do you know where he lives?
      20      Q. Who did he get it from?                               20      A. Yes, I do.
      21      A. I don't know. Mary Fanning I believe, and then        21      Q. Do you have his contact information?
      22   they got it from Dennis Montgomery, that's, that's what     22      A. Yes, I do.
      23   I've heard.                                                 23      Q. Do you have his phone number?
      24      Q. Okay.                                                 24      A. Yes, I do.
      25      A. And did I know Brannon Howse and Dennis               25      Q. Will you provide that information to us?
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       1         Now I'm going to explain this, now I remember.             1   people call my call center, and these are upset people
       2   So I had an assistant back then, not          another            2   or anybody, and they bug them enough, because they're on
       3   assistant where we made up cards, Lindell Management             3   the phone, they have to, at a certain point I said if
       4   cards, okay, so that I wouldn't, you know, and on that           4   you can't handle the customer and if they're adamant, I
       5   card had an email. People would ask me all the time for          5   gave them this      email to use. It goes into a generic
       6   a card and I didn't want to use My Pillow, I wanted to           6   box to a team that just covers like customers that are
       7   use Lindell Management. So I used that email on that             7   upset. Deviations, you know, deviations. Like this
       8   card. So obviously this guy got one of them cards. I             8   guy, he says, so he was probably very upset, you are
       9   don't ever converse on the Lindell Management, I bet you         9   very difficult to make contact, I called and waited 20
      10   I didn't even respond to this, you know.                        10   minutes, I'm not, so he was very upset. Anybody that's
      11      Q. Okay.                                                     11   so upset about anything, they give them that          mail.
      12      A. This is, other than incoming, give out business           12      Q. Gotcha. So this particular email relates to, if
      13   cards that, you know, here, I want a business card,             13   you look in the middle, it actually relates to Dr.
      14   well, here, use this. And once again, I think the               14   Coomer, do you see that?
      15   assistant then could pull them up and segregate them,           15      A. Yep.
      16   like people who wanted my picture and wanted my card.           16      Q. Do you remember receiving this?
      17   And obviously Shiva got one. What's the date on this?           17      A. No, I never read this email. I don't read the
      18      Q. February 18, 2021.                                        18
      19      A. Yeah. So that would have been the only thing.             19      Q. Okay. At all?
      20   He probably got a, he probably got a business card with         20      A. No. They would be,              go to a team and
      21   that on that. I don't even remember how he ever got             21   usually they've been ordered, back then we got thousands
      22   ahold of me.                                                    22   of emails, customers and stuff, so they, so what they do
      23      Q. Did Dr. Shiva perform any work or My Pillow?              23   is they go through and take care of the My Pillow
      24      A. No, no.                                                   24   customers. Everything else they're ordered to, we
      25      Q. As a consultant?                                          25   consider a junk mail.
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       1       A. No, nobody did, no, absolutely not.                       1      Q. Okay.
       2       Q. All right.                                                2      A. This was never read by me, probably looked at,
       3       A. He's talking about, this is, this is Alan Duke,           3   boom, gone.
       4   he's Lead Stories of the Facebook fact checkers.                 4      Q. Okay. And I'm not asking about the lumpy pillow
       5       Q. You can put that aside.                                   5   calls.
       6       A. What?                                                     6      A. No, they're not lumpy pillows, that's not what
       7       Q. You can put that aside.                                   7   they call on, okay. When you say lumpy pillows, now
       8       A. Okay.                                                     8   you're an asshole, you got that, you're an asshole is
       9       Q. Let's go to 69.                                           9   what you are.
      10            (Exhibit 69 marked for identification.)                10            MR. MALONE: Mike.
      11       Q. This is the email portion of your deposition,            11            THE WITNESS: No, he's an asshole, he's an
      12   Mr. Lindell, so we'll just look at a few. You should            12   ambulance chasing asshole.
      13   give one to your counsel.                                       13      A. That's what you are. Lumpy pillows, kiss my
      14         Okay. Exhibit 69 at least purports to be, and             14   ass. Put that in your book. No, they, they answer
      15   it's been produced I guess twice in this litigation,            15   anything, any problem customer that wants to reach Mike
      16   purports to be an email from some person named Mark             16   Lindell, those are the ones, I want to talk to Mike
      17   Debarbieri?                                                     17   Lindell, I want to talk to Mike Lindell. They send them
      18       A. Yep, yep.                                                18   to here and they go, and they call about maybe they
      19       Q. To Mike Lindell at                          do you see   19   didn't get their pillow on time because of the Fed Ex or
      20   that?                                                           20   whatever, but we'll cover it even though it could be
      21       A. Mm-hmm, yep.                                             21   somebody else's fault. Nobody calls because of a lumpy
      22       Q. Do you know who this person is?                          22   pillow. But good, good one though.
      23       A. No idea.                                                 23      Q. Are you done?
      24       Q. Do you know how he got your email address?               24      A. Yeah, I'm done.
      25       A. Yes, I can, that's an easy one to explain. When          25      Q. What I'm saying --
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       1      A. Obviously you don't have a My Pillow too, you             1      A. You've attacked them, you attacked them, you're
       2   don't, do you.                                                  2   part of this, you're getting paid on consignment, you
       3      Q. What I'm saying is, Mr. Lindell --                        3   get paid if they get money from my employees, yes, you
       4      A. Asshole. But go ahead.                                    4   have attacked them. You personally did this, the
       5            THE WITNESS: No, I'm pissed.                           5   Newsmax, you and I call it right out, the criminal
       6            MR. MALONE: I understand.                              6   lawyers and Coomer when you guys did this to me.
       7      A. Yeah, go, when you're saying what.                        7      Q. Do you not think that, that Eric Coomer rigged
       8      Q. The non-customer product complaint calls.                 8   the election?
       9      A. Anything that comes in where the customer,                9      A. What?
      10   there's a, they can't get, they got to get, get to, they       10      Q. Do you not think that Eric Coomer rigged the
      11   can't solve the problem if the customer wants to talk to       11   election?
      12   Mike Lindell or if they want to talk about the weather         12      A. I said, Eric Coomer didn't, I didn't say that, I
      13   being bad. They say, they, they go give them             and   13   didn't say that. I said Dominion, they used Dominion
      14   it goes into another team of people.                           14   machines and all machines. I'm not specific just to
      15      Q. Okay.                                                    15   Dominion, ES&S, Hart, all of them, we've got to get rid
      16      A. And this team take anything that's unrelated to          16   of the computers in our election. I never said anything
      17   My Pillow and throw it in the garbage.                         17   about Eric Coomer. I called him a traitor what he did
      18      Q. Okay. That's where I'm going. To the extent              18   to My Pillow and Newsmax.
      19   that My Pillow is receiving emails from people like Mr.,       19         Chris Ruddy called me up and says, sorry, Mike,
      20   I'm going to butcher his last name, Debarbieri --              20   you can't come on anymore, this guy, I don't know, let's
      21      A. Nobody, the only ones that know --                       21   make a deal. Were you involved in that deal? You hurt
      22      Q. Let me finish my question, please.                       22   a lot of innocent people is what you did because that
      23      A. Well, then, okay. Then make sure you be                  23   day we couldn't go on. Like right now when we're
      24   specific. Because people don't, now you asked me how           24   overdrawn I can't go on Newsmax and say, hey, we got the
      25   they got that email address. I don't publish it for            25   new My Pillow 2.0, my employees thank all of you, like I
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       1   everybody. I don't, people try and reach me all the             1   used to do, I'm their host. I can't do that anymore
       2   time for different things. You don't have that luxury           2   because of you and Coomer. That's reality, that's cost
       3   of being, have people, everyone on the street wants your        3   us hundreds of millions of dollars.
       4   email whether to get a picture or whether to attack you         4         When I'm done with this, you wait, if there's
       5   or whatever it is, you know, people like you that               5   any way to get your wallet it's going to be, that's what
       6   probably call on the phone. But go ahead.                       6   we're going to do because you've hurt us so bad, it's
       7          I give, they give them the email, it's a thing,          7   disgusting. And then you call it a lumpy pillow. Put
       8   catchall so they don't have to take the wrath or an             8   that in there too, huh, are you going to put that out
       9   attack or to say I want to talk to Mike Lindell, come           9   there. Did you use a My Pillow, how dare you. Are you
      10   on, come on, come on, it's easy, they give them this           10   reading this stuff, I don't get it, you're worse than
      11   email. You asked how they got the email, that's it.            11   the media. So keep going.
      12   It's the only way they can get                                 12      Q. I think there was a question in there.
      13       Q. Do you need to take a break?                            13             MR. CAIN: I'm going to object as
      14       A. No, I don't need to take a break.                       14   nonresponsive.
      15       Q. All right.                                              15      A. The question, the question you asked me, how did
      16       A. Your lumpy pillow question kind of set a nerve.         16   they get the ML. I've never read this, anything that
      17   Because obviously, just like your question in here in          17   came across. We get stuff all the time, it goes right
      18   your little complaint, Mike's frivolous Cyber Symposium.       18   in the garbage.
      19   This whole case is frivolous, you should be ashamed of         19      Q. So to that point, the emails that come in that
      20   yourself. But go ahead, finish your question on this           20   get filtered into                      --
      21   and try not to talk about, I get personal when you             21      A. That's correct.
      22   bad-mouth my employees or my pillows or anything like          22      Q. -- that relate to, let's say it's someone like
      23   that. Go ahead.                                                23   this gentleman who's calling about or emailing about
      24       Q. I haven't said a single word about your                 24   Coomer or Dominion.
      25   employees and I don't own --                                   25      A. Garbage.
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       1   interact and say, hey, if you find a screen shot, you         1   with every keyword you gave. There you go.
       2   will get a reward, you know, you have to take a screen        2      Q. Thank you.
       3   shot, okay. So it solved that problem because people          3      A. Yeah, now you got your answer. You already knew
       4   really believed that even though it wasn't true. So           4   the answer, you just was hoping there was more I think.
       5   that was set up.                                              5   It sucks that you're not going to win all this money,
       6         So anything with the election, whether it was           6   huh. Don't you feel it slipping away because you're all
       7   good, even if it was good, hey, I got, like right now if      7   wrong and you realize you shouldn't have done this.
       8   they called up and said, hey, I got a good invention for      8      Q. I'm not sure you understand how you're
       9   Mike on MyStore, I need to talk to him, I need to talk        9   perceived.
      10   to him. My reps instead of saying I can't talk to him,       10      A. I don't care how you think I'm perceived. Let
      11   there's no way you can get to him, but does he have an       11   me tell you how you're perceived. You're perceived as
      12   email, you know what, here's his email, that's it,           12   an ambulance chaser, you're the reason what's wrong with
      13   because they don't have time. My Pillow has to               13   this country with lawyers, you're disgraceful is what
      14   function, it doesn't have time to talk about the weather     14   you are.
      15   or whatever. So these things go there.                       15         When I read this thing again last night, I
      16         And this thing here would have been deleted or         16   thought, one paragraph after you came after me. I
      17   at least unchecked and it's sitting there in the server.     17   didn't know this, whatever this Oltmann, I didn't know
      18   It was, nothing ever gets double deleted because if they     18   him then and I barely know him now. And you guys, and
      19   come back to us we have to be able to show the               19   you guys, all the stuff back then the only thing in here
      20   conversation with them. We do that to protect our            20   was one statement I made after you attacked Newsmax,
      21   company.                                                     21   after Coomer attacked Newsmax. That's the only
      22            MR. CAIN: Objection, nonresponsive.                 22   statement I made, period, I didn't know who Eric Coomer
      23      Q. I'm just trying to get a sense of how many             23   was.
      24   people call your company about the election fraud            24      Q. We're recycling old testimony. I didn't ask you
      25   issues?                                                      25   about that either. So let's, let's stay focused because
                                                             Page 286                                                        Page 288

       1      A. How many to nowadays, probably, I don't know,           1   we only have a little bit more time.
       2   none, a few. Back then in January of '21, a lot. They         2      A. Okay.
       3   were all calling in attacking and then, and then we were      3             THE WITNESS: My A plus went out the
       4   losing our box stores, you know.                              4   window.
       5      Q. They, they were emailing too?                           5             MR. MALONE: Just keep it moving, Mike.
       6      A. Not emailing, no. The only to an email                  6      Q. By the way, I'm not responding to your name
       7   probably, I don't know, maybe one a month. I don't            7   calling and I'm not responding to --
       8   know, whatever you got is what we have. Whatever you          8      A. I know, but I did respond when you said
       9   got, then you know the number. If you did, if you did,        9   something about my product that about 2,000 employees
      10   had us do a search, whatever you got. And believe me,        10   rely on and they have families. And for you to have,
      11   these guys did it all on their own, the lawyer said, no,     11   I've sold 80 million My Pillows in 14 years. You don't
      12   we got this third-party to do the stuff, didn't I, I was     12   have one, so you have no right to say that. You took
      13   very adamant about that. You can kiss my butt I said.        13   that right off of your corruption that you do. You're
      14   He goes no, Mike, we have to get them. I said there's        14   probably the one putting out the narrative, it sure
      15   no emails that we have between with any of these things.     15   seems like it.
      16            MR. MALONE: Mike, Mike, you know what I'm           16         I read some of the crap in here that you wrote
      17   going to say?                                                17   in your brief that's disgusting. The lies in here. One
      18            THE WITNESS: What?                                  18   of them says after Mike was with Donald Trump in 2017 at
      19            MR. MALONE: You don't have to tell them             19   a manufacturers summit, he started doing promo codes on
      20   about what we talked about.                                  20   Fox. I was doing it ten years prior. This is a big
      21            THE WITNESS: Okay.                                  21   lie, you're a lying lawyer.
      22      A. No, I'm just saying, every, you have every one.        22             MR. MALONE: Mike, you're going to let him
      23   So you have your own answer.                                 23   finish what he's going to say and I'll object if --
      24      Q. Okay.                                                  24      A. Go ahead.
      25      A. You have every single one ever done at My Pillow       25      Q. I'm not going to respond to your personal
                                                             Page 287                                                        Page 289

                                                                                                           73 (Pages 286 - 289)
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                                    of 21
       5761446 -ER
   1                    IN THE UNITED STATES DISTRICT COURT

   2                        FOR THE DISTRICT OF COLORADO

   3

   4      Eric Coomer, Ph.D.,

   5                      Plaintiff,

   6           vs.                   Civil Action No. 1:22-cv-01129-WJM

   7      Michael J. Lindell, Frankspeech LLC,

   8      and My Pillow, Inc.,

   9                      Defendants.

  10

  11

  12                 VIDEOTAPED DEPOSITION OF MICHAEL J. LINDELL

  13              DESIGNATED REPRESENTATIVE OF MY PILLOW, INC.

  14                          VOLUME I (Pages 1-370)

  15

  16

  17      DATE:      March 8, 2023

  18      TIME:      9:30 a.m. CST

  19      PLACE: PARKER DANIELS KIBORT, LLC

  20                 Colwell Building, Suite 888, 123 North 3rd St

  21                 Minneapolis, Minnesota 55401

  22

  23

  24      REPORTED BY: KELLEY E. ZILLES, RPR

  25      Job No.: 5761446

                                                                   Page 1

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                                    of 21


   1                         REPORTER'S CERTIFICATE
   2
   3
         STATE OF MINNESOTA )
   4                              ) as.
         COUNTY OF WASHINGTON )
   5
   6         I hereby certify that I reported the videotaped
         deposition of Michael J. Lindell, Volume I, on the 8th
   7     day of March 2023, in Minneapolis, Minnesota, and that
         the witness was by me first duly sworn to tell the whole
   B     truth;
   9         That the testimony was transcribed by me and is a
         true record of the testimony of the witness;
  10
             That the cost of the original has been charged to
  11.    the party who noticed the deposition, and that all
         parties who ordered copies have been charged at the same
  12     rate for such copies;
  13         That I am not a relative or employee or attorney or
         counsel of any of the parties, or a relative or employee
  14     of such attorney or counsel;
  15         That I am not financially interested in the action
         and have no contract with the parties, attorneys, or
  16     persons with an interest in the action that affects or
         has a substantial tendency to affect my impartiality;
  17
             That the right to read and sign the deposition by
  18     the witness was reserved.
  19         WITNESS MY HAND AND SEAL THIS 22nd day of March 2023.
  20
  21
  22
  23
                        ).0031,w4              ilito
  24                     Kelley E. Zilles, RPR
                         Notary Public, Washington County, Minnesota
  25                     My commission expires 1-31-2025

                                                                Page 370

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Case No. 1:22-cv-01129-NYW-SKC Document 172-6 filed 09/07/23 USDC Colorado pg 21
                                    of 21



                     REPORTER'S CERTIFICATE
        2                                                                        I Coomer, Eric, Ph.D. v. Lindell, Michael J., Et Al
                                                                                 2 Michael J. Lindell (#5761446)
            STATE OF MINNESOTA )
        4                 SS.
                                                                                 3             ERRATA SHEET
            COUNTY OF WASHINGTON )                                               4 PAGE           LINE         CHANGE
        5
        6     I hereby certify that I reported the videotaped                    5
           deposition of Michael J. Lindell, Volume I, on the 8th                6 REASON
        7 day of March 2023, in Minneapolis, Minnesota, and that
           the witness was by me first duly sworn to tell the whole              7 PAGE           LINE         CHANGE
        8 truth;                                                                 8
        9     That the testimony was transcribed by me and is a
           true record of the testimony of the witness;                          9 REASON
       10                                                                       10 PAGE           LINE         CHANGE
              That the cost of the original has been charged to
       11 the party who noticed the deposition, and that all                    11
           parties who ordered copies have been charged at the same             12 REASON
       12 rate for such copies;
       13     That I am not a relative or employee or attorney or               13 PAGE           LINE         CHANGE
           counsel of any of the parties, or a relative or employee             14
       14 of such attorney or counsel;
       15     That I am not financially interested in the action                15 REASON
           and have no contract with the parties, attorneys, or                 16 PAGE           LINE         CHANGE
       16 persons with an interest in the action that affects or
           has a substantial tendency to affect my impartiality;                17
       17                                                                       18 REASON
              That the right to read and sign the deposition by
       18 the witness was reserved.                                             19 PAGE           LINE         CHANGE
       19     WITNESS MY HAND AND SEAL THIS 22nd day of March 2023.             20
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       21                                                                       21 REASON
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                 Mug
                  ....In.),
                                      4.11)                                     23
                                                                                24 Michael J. Lindell              Date
                  Notary Public, Washington County, Minnesota
       25         My commission expires 1-31-2025                               25
                                                                     Page 370                                                                   Page 372

        1 Ryan Malone                                                                Coomer, Eric, Ph.D. v. Lindell, Michael J., Et Al
        2 Malone@parkerdk.com                                                    2 Michael J. Lindell (#5761446)
        3                     March 22, 2023                                     3            ACKNOWLEDGEMENT OF DEPONENT
        4 RE: Coomer, Eric, Ph.D. v. Lindell, Michael J., Et Al                  4     I, Michael J. Lindell, do hereby declare that I
        5      3/8/2023, Michael J. Lindell (#5761446)                           5 have read the foregoing transcript, I have made any
        6      The above-referenced transcript is available for                  6 corrections, additions, or changes I deemed necessary as
        7 review.                                                                7 noted above to be appended hereto, and that the same is
        8    Within the applicable timeframe, the witness should                 8 a true, correct and complete transcript of the testimony
        9 read the testimony to verify its accuracy. If there are                9 given by me.
       10 any changes, the witness should note those with the
       1 1 reason, on the attached Errata Sheet.
       12      The witness should sign the Acknowledgment of
                                                                                10
                                                                                11
                                                                                                •


                                                                                12 Michael J. Lindell fDate
                                                                                                                    4-eeetvo)
       13 Deponent and Errata and return to the deposing attorney.              13 *If notary is required
       14 Copies should be sent to all counsel, and to Veritext at              14              SUBSCRIBED AND SWORN TO BEFORE ME THIS
       15 errata-tx@veritext.com.                                               15                       DAY OF                          , 20
       16                                                                       16
       17    Return completed errata within 30 days from                        17
       1 8 receipt of testimony.                                                18
       19     If the witness fails to do so within the time                     19              NOTARY PUBLIC
       20 allotted, the transcript may be used as if signed.                    20
       21                                                                       21
       22                Yours,                                                 22
       23               Veritext Legal Solutions                                23
       24                                                                       24
       25                                                                       25
                                                                     Page 371                                                                   Page 373

                                                                                                                          94 (Pages 370 - 373)
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